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                      IN THE UNITED STATES DISTRICT COURT                               L   b
                       FOR   TIlE WFSTERN 1)ISTRICT          OF TEXAS
                                     EL PASO DIVISION                           :4J         4M1O   [45


UNITEDSTATESOFAMERICA,                              §
                                                    §
v..                                                 §              EP-17-CR-674-11vif
                                                    §
MIGUEL HERNANDEZ.                                   §

            ORDER DENYING DEFENDANT'S MOTION TO REDUCE SENTENCE

       Defendant Miguel Hemandez, Federal Register Number 90328-380, moves the Court to reduce his

sentence pursuant to Amendment 782 to the Sentencing Guidelines (ECF No. 225). Amendment 782

effectively lowers most drug-related base offense levels in the Sentencing Guidelines, which are

determined by the quantity of drugs involved in the offense, by two levels.

       The Court may modify a defendant's sentence under 18 U.S.C.    §   3582(c)(2) "when it is for 'a term

of imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission." United States v. Doublin, 572 F.3d 235, 237 (2009) (quoting 18 U.S.C. § 3582(c)(2)).

The Court relied on the 2016 Guidelines Manual to determine Defendant's offense level. Presentence

Investigation Report ¶ 49, ECF No. 166. The 2016 Guidelines Manual incorporated Amendment 782.

U.S. Sentencing Guidelines Manual   §   1B1.10(d) (U.S. Sentencing Comm'n 2016). Hence, Defendant

was sentenced in consideration of Amendment 782, his sentencing range was not subsequently lowered by

Amendment 782, and he is not entitled to relief under Amendment 782.

       Accordingly, Defendant Miguel Hernandez' s motion to reduce his sentence pursuant to

Amendment 782 to the Sentencing Guidelines (ECF No. 225) is DENIED.

       SIGNED this     2S      day of June 2019.



                                                    FRANK MONTALVO
                                                    UNITED STATES DISTRICT JUDGE
